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   7
   8
   9                          UNITED STATES DISTRICT COURT
  10                        CENTRAL DISTRICT OF CALIFORNIA
  11
  12   SECURITIES AND EXCHANGE                CASE NO. CV11-07147 GHK (Ex)
       COMMISSION,
  13                                          DECLARATION OF BRICK KANE
                         Plaintiff,           IN SUPPORT OF MOTION FOR
  14                                          ORDER: (1) APPROVING FINAL
                v.                            REPORT AND ACCOUNTING; (2)
  15                                          APPROVING RECEIVER'S AND
       CHRISTIAN STANLEY, INC.; and           COUNSEL'S FEES AND EXPENSES
  16   DANIEL C.S. POWELL„                    FROM INCEPTION THROUGH
                                              CLOSING; (3) DISCHARGING
  17                     Defendants,          RECEIVER; (4) RELIEVING
                                              RECEIVER OF ALL DUTIES AND
  18   and                                    LIABILITIES; (5) AUTHORIZING
                                              ABANDONMENT AND
  19   CHRISTIAN STANLEY, LLC; and            DESTRUCTION OF RECORDS; (6)
       DANIEL CHRISTIAN STANLEY               GRANTING RELIEF FROM NOTICE
 20    POWELL REALTY HOLDINGS,                UNDER LOCAL RULE 66-7; AND (7)
       INC.,                                  FOR RELATED RELIEF
 21
                         Relief Defendants.
 22                                           DATE:   February 22, 2016
 23                                           TIME:   9:30 a.m.
                                              PLACE: Courtroom 650
 24
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 26
 27
 28

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   1             I, Brick Kane, declare:
   2             1.      I am the President and Chief Operating Officer of Robb Evans &
   3    Associates LLC ("Receiver"), which was appointed as permanent receiver of
   4    Christian Stanley, Inc., Christian Stanley, LLC and Daniel Christian Stanley Powell
   5    Realty Holdings, Inc. and their subsidiaries and affiliates ("Receivership
   6    Defendants") pursuant to the Preliminary Injunction issued September 19, 2011. I
   7    am one of the senior members of the Receiver with primary responsibility for the
   8    activities of the Receiver. I have personally participated in the Receiver's activities from
   9    the inception of the receivership to the present and will be one of the members primarily
  10   responsible for supervising the completion of the administration of the receivership estate.
  11   I have personal knowledge of the matters set forth in this declaration, and if I were called
  12   upon to testify as to these matters, I could and would competently testify based upon my
  13   personal knowledge. If called upon to testify as to the facts set forth in this
  14   declaration, I could and would testify competently thereto since the facts are true
  15   and within my own personal knowledge.
  16            2.       On September 1, 2011, Robb Evans & Associates LLC ("Receiver")
  17   was appointed temporary receiver against the Receivership Defendants, Robb
  18   Evans was appointed as the temporary receiver of Christian Stanley, Inc., Christian
  19   Stanley, LLC and Daniel Christian Stanley Powell Realty Holdings, Inc. ("Realty
 20    Holdings"), and their subsidiaries and affiliates ("Receivership Defendants")
 21    pursuant to a Temporary Restraining Order and Orders: (1) Freezing Assets; (2)
 22    Appointing A Temporary Receiver; (3) Prohibiting the Destruction of Documents;
 23    (4) Requiring Accountings; (5) Allowing Expediting Discovery; and Order to Show
 24    Cause Re Preliminary Injunction and Appointment of a Permanent Receiver (Doc.
 25    No. 7). Thereafter, on December 7, 2004, the Court issued a Preliminary Injunction
 26    and Orders: (1) Freezing Assets; (2) Prohibiting the Destruction of Documents; (3)
 27    Requiring Accountings; and (4) Appointing A Permanent Receiver (Doc. No. 18)
 28    pursuant to which the Receiver was appointed permanent receiver over the

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   1   Receivership Defendants. The plaintiff Securities and Exchange Commission
   2   ("SEC") also sued individual defendant Daniel C.S. Powell ("Powell") who was the
   3   principal of the Receivership Defendants.
   4             3.      On September 14, 2011, shortly after commencement of the action, the
   5   Receiver filed its Report of Temporary Receiver's Activities ("Receiver's Report").
   6   Based on the Receiver's investigation, the Receivership Defendants earned only
   7     31,250 during the seven years between June 1, 2004 and March 31, 2011, the last
   8   date the accounting records were updated through. The Christian Stanley, Inc.
   9   balance sheet located by the Receiver when it took physical possession of the
  10   Receivership Defendants showed a net worth deficit of almost $5 million. The
  11   Receiver located approximately $35,000 in cash after it was appointed, and the only
  12   other asset recovered in the case was the net proceeds of the sale of three -Vehicles
  13   in the amount of $10,465.07.
  14             4.      The Receivership Defendants have conducted no business since the
  15   inception of the receivership. The Receiver has executed a Stipulated Judgment on
  16   behalf of Christian Stanley, Inc., Christian Stanley, LLC and Realty Holdings
  17   which provides, without admission of liability, for a permanent ban on activities
  18   that would violate the SEC Act and regulations. No monetary recovery by the SEC
  19   is provided in the Stipulated Judgment in light of the insolvency of the receivership
 20    estate.
 21              5.      Attached hereto as Exhibit 1 is the Receiver Administration Expense
 22    from Inception (September 1, 2011) to Closing ("Final Accounting") that
 23    summarizes the receipts and expenses of the receivership estate from its inception
 24    through September 30, 2015 and includes estimated closing fees and expenses from
 25    October 1, 2015 through closing. The receivership estate is administratively
 26    insolvent, with a deficit of over $50,000 based on the estimated anticipated fees and
 27    expenses incurred and to be incurred to wind up the receivership. The Receiver has
 28    insufficient funds to pay in full all of the fees and expenses of the Receiver and its

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   1   counsel and anticipates paying those fees and expenses pro rata as part of the
   2   closure of the estate.
   3            6.       In addition to the other relief sought in the motion which this
   4   declaration supports, the Receiver's motion is its first and final fee motion. The
   5   Receiver seeks approval and authorization to pay the Receiver's fees and expenses
   6   and the Receiver's attorneys' fees and expenses incurred from the inception of the
   7   receivership through the closing of the estate ("Final Fee Period"). To the extent
   8   assets of the receivership estate are insufficient to pay such fees and expenses, the
   9   Receiver requests that the Court authorize the Receiver to pay such allowed fees
  10   and expenses on a pro rata basis to the Receiver and the Receiver's counsel based
  11   on the Receiver's allowed amount of fees and expenses and the Receiver's counsel's
  12   allowed amount of fees and expenses. The Final Report, Exhibit 1, summarizes the
  13   fees and expenses incurred by the Receiver and counsel during the receivership, as
  14   well as those that the Receiver anticipates incurring from October 1, 2015 through
  15   the closing of the estate.
  16            7.       For the period from the inception of the receivership through
  17   September 30, 2015, there are unpaid Receiver's fees of $47,976.90 and expenses
  18   of $20,158.16, and unpaid Receiver's attorneys' fees incurred to Dentons US LLP
  19   of $9,819.90 and costs of $343.84. The Receiver estimates closing expenses from
  20   October 1, 2015 through closing and the final distribution of assets to be a total of
  21   $18,541.23, including $6,866.23 in Receiver's fees, $1,675 in Receiver's costs, and
  22   $9,500 in attorneys' fees and $500 in attorney costs. These estimated closing fees
 23    and expenses including the Receiver's and attorneys' fees and expenses for the
 24    preparation, filing and service of the final wind up motion, payment of funds,
 25    records destruction and other related wind up activities and expenses. Attached
 26    hereto as Exhibit 2 are true and correct copies of the redacted billing records of the
 27    Receiver from the inception of the case through September 30, 2015, with
 28    confidential attorney-client privileged communications and attorney work product

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   1   redacted so as not to waive these privileges through disclosure. The billing rates
   2   charged in this case reflected in the billing records filed in support of the Motion for
   3   the Receiver, the Receiver's members and staff are discounted at 10% from the
   4   rates charged by the Receiver's firm in private sector cases as of the time of the
   5   Receiver's appointment.
   6            8.       The Receiver prepared and filed its Receiver's Report on September
   7   14, 2011 which details the Receiver's initial activities and its forensic accounting
   8   and analysis of the Receivership Defendants' financial records. The Receiver took
   9   possession and control of paper and electronic records of the Receivership
  10   Defendants, met with and interviewed Powell and contacted other key individuals,
  11   including the Chief Operating Officer of Christian Stanley, Inc. and a member of
  12   the audit firm that had prepared an audit of the financials in 2009 and a draft audit
  13   opinion in 2010. The Receiver determined through these sources and its own
  14   analysis that Powell was paid $1,350,000 from June 1, 2004 to March 31, 2011
  15   while the Receivership Defendants' net worth deficit continued to grow to almost
  16   $5 million at the time the receivership was instituted. The Receiver's forensic
  17   accounting analysis confirmed that the investment scheme operated as a Ponzi
  18   scheme, with the meager $31,250 in revenue being clearly insufficient to fund
  19   $219,903 in purported interest expense payments to investors and with the Receiver
  20   concluding that the only source from which the interest expense could have been
  21   paid was funds paid into the scheme by other investors.
 22             9.       The Receiver's Report also describes the business records of the
 23    Receivership Defendants that described purported assets that were to secure the
 24    Secured Debentures which were to support the life insurance investments the
 25    victims believed they were investing in when they turned over money to the
 26    Receivership Defendants. The Receiver investigated the assets that purportedly
 27    constituted the collateral for the Secured Debentures and confirmed that none of the
 28    assets had been transferred to the Receivership Defendants and that the

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   1   Receivership Defendants in fact had no assets, other than the small amount of cash
   2   the Receiver located at an account at Bank of America at the outset of the case.
   3             10.     The Receiver's asset investigation also located two transfers of funds
   4   made in August 2011 after Powell was aware of the SEC's investigation. One
   5   transfer was made to an overseas company in Frankfurt, Germany for $166,980 and
   6   one was for $100,000 to Globo International Satellite ("Globo"). The Receiver
   7   considered the limited amounts involved, the practical issues in attempting to
   8   recover the funds including the fact that one of the transferees was an overseas
   9   company and the limited funds in the estate, and did not pursue litigation against
  10   these entities.
  11            11.      The Receiver investigated three vehicles Powell stated he purchased
  12   and financed in his name but which he acknowledged were acquired for the benefit
  13   of Christian Stanley, Inc. The three vehicles included a 2002 Ferrari convertible, a
  14   2010 minivan and a 2011 pickup truck. The purchase was financed through loans
  15   obtained by Powell from Gilmore Bank. The Receiver was initially advised that
  16   one of the vehicles had been repossessed by Gilmore Bank at or about the time of
  17   the commencement of the receivership and that the truck was in the possession of a
  18   former employee who did not immediately respond to the Receiver's requests for
  19   information regarding the vehicle.
  20            12.      The Receiver and Gilmore Bank later agreed, with Court approval, that
  21   Gilmore Bank could liquidate the vehicles. The vehicles were all sold by Gilmore
  22   Bank, the Receiver reviewed the accounting for the sale proceeds, and the estate
  23   recovered $10,465.07 in excess proceeds from the sale.
  24            13.      The Receiver and counsel also had to address leases for three kiosks at
  25   certain shopping centers at the outset of the case. The Receiver reviewed the status
  26   of any personal property located at the kiosks including any property that might
  27   contain data or receivership records. The Receiver concluded that it was in the best
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   1   interests of the estate to promptly reject the three leases and worked with the
   2   landlords to coordinate turnover of the kiosks.
   3            14.      The Receiver addressed other administrative matters during the course
   4   of the case. The Receiver had to address issues regarding the Receivership
   5   Defendants' web site. The Receiver responded to inquiries and requests for
   6   information by creditors and investors. The Receiver prepared tax returns, and the
   7   Receiver and its counsel monitored the status of this action and the related criminal
   8   proceeding.
   9            15.      Powell was under investigation by the federal criminal authorities, and
  10   the Court stayed this action pending that investigation and the completion of the
  11   criminal trial. Powell was indicted by the Grand Jury for mail fraud, wire fraud and
  12   obstruction of justice. In 2014, I testified for the prosecution at the criminal trial of
  13   Powell. Powell was found guilty on all counts by a jury, and on June 5, 2015 was
  14   sentenced to 121 months in prison, as reflected in a notice filed by the Government
  15   in this action on June 23, 2015.
  16            16.      In this case, there are believed to be at least 150 investors who are
  17   potential creditors in this case and there are also approximately eight vendor
  18   creditors. Further, the identity and address of each of the investors has not been
  19   confirmed by the Receiver. If the Receiver were required to give notice to all these
  20   potential creditors, such a requirement would be burdensome, time-consuming and
  21   expensive for the receivership estate, including substantial photocopying costs.
 22    Moreover, the Receiver would likely be unable to comply with such a requirement
 23    as a practical matter given that the identity and address of all of the investor
 24    creditors have not been determined.
 25             17.       As a member of Robb Evans & Associates LLC, I am familiar with
 26    the methods and procedures used by the Receiver and its staff and employees to
 27    record the time spent rendering services to receivership estates over which Robb
 28    Evans or Robb Evans & Associates LLC have been appointed. The records

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   1    included as Exhibit 2 hereto are regularly prepared by the members, staff and
   2    employees of Robb Evans & Associates LLC at or about the time of the services
   3    rendered and each of whom has a business duty to accurately record the information
   4    regarding their services set forth in these records. The records are reviewed by the
   5    Receiver's accounting staff and summarized in the Receiver's Final Accounting,
   6    Exhibit 1 attached hereto. Based upon my experience with Robb Evans &
   7    Associates LLC, I believe the Receiver's methods and procedures for recording and
   8    accounting for time and services for the receivership estates over which Robb
   9   Evans or Robb Evans & Associates LLC have been appointed are reliable and
  10   accurate.
  11             18.     I have read the Motion which this Declaration supports, and to the best
  12   of my knowledge, information and belief formed after reasonable inquiry, I certify
  13   that (a) the Motion and all fees and expenses referenced therein are true and
  14   accurate and comply with the Billing Instructions of plaintiff Securities and
  15   Exchange Commission; (b) all fees contained in the motion are based on the rates
  16   listed in the Receiver's fee schedule and the fees are reasonable, necessary and
  17   commensurate with the skill and experience required for the activity performed; and
  18   (c) the Receiver has not included in the amount for which reimbursement is sought
  19   the amortization of the cost of any investment, equipment or capital outlay (except
  20   to the extent that any such amortization is included within the permitted allowance
  21   amounts set forth in the Billing Instructions and the costs requested herein for
  22   photocopies and facsimile transmission); and (d) in seeking reimbursement for
 23    service which the Receiver justifiably purchased or contracted for from a third party
 24    (such as copying, imaging, bulk mail, messenger service, overnight courier,
 25    computerized research, or title and lien searches), the Receiver has requested
 26    reimbursement only for the amount billed to the Receiver by the third party vendor
 27    and paid by the Receiver to such vendor.
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                  19.     The Receiver believes that its fees and costs and those of its counsel
    I   are reasonable given the services rendered, the period covered by the motion, and
    3   the facts and circumstances of the case. The Receiver requests that the Court
    4   approve the Receiver's Final Report and Final Accounting, approve the fees and
    5   costs sought in the motion in their entirety and authorize payment from the
    6    receivership assets.
    7            I declare under penalty of perjury that the foregoing is true and correct and
    8   that this declaration was executed this      /1-   day of January 2016 at Sun Valley,
    9   California.
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                                                                 BRICK KANE
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